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                 Exhibit 9
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Margaret Healey




From:                                        Gonzalez, Arturo J. <AGonzalez@mofo.com>
Sent:                                        Friday, September 29, 2017 12:36 PM
To:                                          John Cooper
Cc:                                          James Judah; Samuel Kitchens; Rivera, Sylvia; Melanie.Blunschi@lw.com; DG-
                                             GPOttoTruckingWaymo@goodwinlaw.com; UberWaymoMoFoAttorneys;
                                             BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber-sg@LISTS.SUSMANGODFREY.COM;
                                             Matthew Cate; QE-Waymo
Subject:                                     Waymo v. Uber - Slack Access


John,

Very sorry. We have five depos going today. This is being finalized now and should be on file soon.

Arturo

Sent from my iPhone

On Sep 29, 2017, at 12:29 PM, John Cooper <JCooper@fbm.com> wrote:

                  - External Email -

                  Counsel

                  Judge Corley has noted that Uber has not yet filed the following declaration which Judge Corley required
                  at page 7 of the hearing yesterday.

                  THE COURT: Okay. All right. So then I -- what
                  I'd like you to do, Uber, is by noon tomorrow to file a
                  declaration that details, you know, how these were just
                  found, weren't found before, and the like, where they were
                  found, why they weren't found, how they were found. Okay?
                  MS. RIVERA: Understood.

                  John


                  From: Cooper, John (19) x4410
                  Sent: Thursday, September 28, 2017 9:18 PM
                  To: James Judah
                  Cc: Samuel Kitchens; SRivera@mofo.com; Melanie.Blunschi@lw.com; DG-
                  GPOttoTruckingWaymo@goodwinlaw.com; UberWaymoMoFoAttorneys@mofo.com;
                  BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber-sg@LISTS.SUSMANGODFREY.COM; Cate, Matthew
                  (20) x4469; QE-Waymo
                  Subject: Re: Waymo v. Uber - Slack Access

                  Counsel

                  We can address this issue at 10:00 also if Stroz is not necessary. John

                  John L. Cooper
                                                                       1
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Farella Braun + Martel LLP
Direct: 415 954 4410
jcooper@fbm.com

On Sep 28, 2017, at 9:15 PM, James Judah <jamesjudah@quinnemanuel.com> wrote:

       John –

       Similarly, we would request discussing Uber’s access to the Slack channel (which is
       separate from the issue of Stroz’s) on the 10 AM call.

       James

       From: John Cooper [mailto:JCooper@fbm.com]
       Sent: Thursday, September 28, 2017 9:02 PM
       To: Samuel Kitchens <samuelkitchens@quinnemanuel.com>
       Cc: SRivera@mofo.com; Melanie.Blunschi@lw.com; DG‐
       GPOttoTruckingWaymo@goodwinlaw.com; UberWaymoMoFoAttorneys@mofo.com;
       BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber‐sg@LISTS.SUSMANGODFREY.COM;
       Matthew Cate <MCate@fbm.com>; QE‐Waymo <qewaymo@quinnemanuel.com>
       Subject: Re: Waymo v. Uber ‐ Slack Access

       Counsel

       This will be added to the session at 1:00 pm.

       John

       John L. Cooper
       Farella Braun + Martel LLP
       Direct: 415 954 4410
       jcooper@fbm.com

       On Sep 28, 2017, at 8:54 PM, Samuel Kitchens <samuelkitchens@quinnemanuel.com>
       wrote:

                 Counsel and John,

                 The Stroz report references a Slack channel accessed by Ottomotto
                 employees in 2015 and 2016. It appears based upon these references
                 that Stroz had access to this Slack channel and reviewed it as part of its
                 investigation. See pg. 12, 19 (noting that review showed when
                 Levandowski and Ron accessed Slack). Could you each please confirm
                 whether Uber or Stroz currently have, or previously had, access to this
                 Slack channel, and, if so, whether the information from that Slack
                 channel has been collected and made available to Waymo, either
                 through a production or on Stroz’s Relativity database?

                 We’d ask that this be added to tomorrow’s 10 AM meet and confer.

                 Best,


                                                      2
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                       Sam

                       Samuel Kitchens
                       Associate
                       Quinn Emanuel Urquhart & Sullivan, LLP

                       51 Madison Avenue, 22nd Floor
                       New York, NY 10010
                       212-849-7437 Direct
                       212-849-7000 Main Office Number
                       212-849-7100 FAX
                       samuelkitchens@quinnemanuel.com
                       www.quinnemanuel.com

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                                            _______
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                                                    Farella Braun + Martel LLP


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